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 6                         IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9   United States of America,                          No. CR-18-00422-002-PHX-DJH
10                   Plaintiff,                         ORDER
11   v.
12   James Larkin,
13                   Defendant.
14
15           Before the Court is a Stipulation Regarding Motion to Enforce Abatement of
16   Prosecution (Doc. 1942), filed by the Estate of James Larkin (the “Estate”) and the

17   United States. For good cause showing,
18           IT IS ORDERED that the Stipulation (Doc. 1942) is approved as follows:

19        1. The United States acknowledges that it is not seeking forfeiture in Case No. 18-cr-

20           00422 of the assets listed on pages 2-3 of the Estate’s Motion (Doc. 1856).
21        2. The United States shall work in good faith with the Estate to ensure that
22           documents previously recorded on real property in connection with Mr. Larkin’s

23           release pending trial can no longer cloud title.

24        3. The Estate’s request for the release of assets seized from the Republic Bank of

25           Arizona account number XXXX2500 is withdrawn.

26           Dated this 17th day of November, 2023.
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28                                                   Honorable Diane J. Humetewa
                                                     United States District Judge
